       Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 1 of 14 Page ID #:738



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   9   UNITED STATES OF AMERICA
 10                              UNITED STATES DISTRICT COURT
 11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12    UNITED STATES OF AMERICA,                     No. 2:23-cr-00236-ODW-5
 13                Plaintiff,                        AMENDED PLEA AGREEMENT FOR
                                                     DEFENDANT ADAM GARCIA
 14                       v.
 15    ERNESTO ECHEVERRIA, et al.
 16

 17                Defendants.
 18
 19                 This constitutes the plea agreement between ADAM GARCIA
 20    (“defendant”) and the United States Attorney’s Office for the Central District of
 21    California (the “USAO”) in the above-captioned case. This agreement is limited to the
 22    USAO and cannot bind any other federal, state, local, or foreign prosecuting,
 23    enforcement, administrative, or regulatory authorities.
 24                               DEFENDANT’S OBLIGATIONS
 25                 Defendant agrees to:
 26                 a.    At the earliest opportunity requested by the USAO and provided by
 27    the Court, appear and plead guilty to count 26 of the indictment in United States v.
  28 Echeverria, et al., CR No. 23-cr-00236-ODW-5, which charges defendant with being a
4.9.24
     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 2 of 14 Page ID #:739



1    Felon and Prohibited Person in Possession of Firearm and Ammunition in violation of 18
2    U.S.C. § 922(g)(1).
3                 b.    Not contest facts agreed to in this agreement.
4                 c.    Abide by all agreements regarding sentencing contained in this
5    agreement.
6                 d.    Appear for all court appearances, surrender as ordered for service of
7    sentence, obey all conditions of any bond, and obey any other ongoing court order in this
8    matter.
9                 e.    Not commit any crime; however, offenses that would be excluded for
10   sentencing purposes under United States Sentencing Guidelines (“U.S.S.G.” or
11   “Sentencing Guidelines”) § 4A1.2(c) are not within the scope of this agreement.
12                f.    Be truthful at all times with the United States Probation and Pretrial
13   Services Office and the Court.
14                g.    Pay the applicable special assessment at or before the time of
15   sentencing unless defendant has demonstrated a lack of ability to pay such assessments.
16                h.    Agree to and not oppose the imposition of the following conditions of
17   probation or supervised release:
18                      i.     The defendant shall submit defendant’s person and any
19   property under defendant’s control, including any residence, vehicle, papers, computer
20   and other electronic communication or data storage devices and media, and effects, to
21   suspicion-less search and seizure at any time of the day or night by any law enforcement
22   or probation officer, with or without a warrant, and with or without cause; and if stopped
23   or questioned by a law enforcement officer for any reason, defendant shall notify that
24   officer that defendant is on federal supervised release and subject to search.
25                                THE USAO’S OBLIGATIONS
26                The USAO agrees to:
27                a.    Not contest facts agreed to in this agreement.
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     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 3 of 14 Page ID #:740



1                 b.    Abide by all agreements regarding sentencing contained in this
2    agreement.
3                 c.    At the time of sentencing, provided that defendant demonstrates an
4    acceptance of responsibility for the offense up to and including the time of sentencing,
5    recommend a two-level reduction in the applicable Sentencing Guidelines offense level,
6    pursuant to U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an additional
7    one-level reduction if available under that section.
8                 d.    Recommend that defendant be sentenced to a term of imprisonment
9    no higher than the low end of the applicable Sentencing Guidelines range, provided that
10   the offense level used by the Court to determine that range is 17 or higher and provided
11   that the Court does not depart downward in offense level or criminal history category.
12   For purposes of this agreement, the low end of the Sentencing Guidelines range is that
13   defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A.
14                                 NATURE OF THE OFFENSE
15                Defendant understands that for defendant to be guilty of the crime charged
16   in count 26, that is, being a Felon in Possession of a Firearm and Ammunition, in
17   violation of Title 18, United States Code, Section 922(g)(1), the following must be true:
18   (i) defendant knowingly possessed a firearm or ammunition; (ii) the firearm or
19   ammunition had been shipped or transported in interstate or foreign commerce; (iii) at
20   the time the defendant possessed the firearm or ammunition, defendant had been
21   convicted of a crime punishable by imprisonment for a term exceeding one year; and (iv)
22   at the time that defendant possessed the firearm or ammunition, defendant knew that he
23   had been convicted of a crime punishable by imprisonment for a term exceeding one
24   year.
25                                          PENALTIES
26                Defendant understands that the statutory maximum sentence that the Court
27   can impose for a violation of Title 18, United States Code, Section 922(g)(1), is: 15
28   years’ imprisonment; a 3-year period of supervised release; a fine of $250,000 or twice
                                                3
     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 4 of 14 Page ID #:741



1    the gross gain or gross loss resulting from the offense, whichever is greatest; and a
2    mandatory special assessment of $100.
3                 Defendant understands that supervised release is a period of time following
4    imprisonment during which defendant will be subject to various restrictions and
5    requirements. Defendant understands that if defendant violates one or more of the
6    conditions of any supervised release imposed, defendant may be returned to prison for
7    all or part of the term of supervised release authorized by statute for the offense that
8    resulted in the term of supervised release, which could result in defendant serving a total
9    term of imprisonment greater than the statutory maximum stated above.
10                Defendant understands that, by pleading guilty, defendant may be giving up
11   valuable government benefits and valuable civic rights, such as the right to vote, the
12   right to possess a firearm, the right to hold office, and the right to serve on a jury.
13   Defendant understands that he is pleading guilty to a felony and that it is a federal crime
14   for a convicted felon to possess a firearm or ammunition. Defendant understands that
15   the conviction in this case may also subject defendant to various other collateral
16   consequences, including but not limited to revocation of probation, parole, or supervised
17   release in another case and suspension or revocation of a professional license.
18   Defendant understands that unanticipated collateral consequences will not serve as
19   grounds to withdraw defendant’s guilty plea.
20         8.     Defendant and his counsel have discussed the fact that, and defendant
21   understands that, if defendant is not a United States citizen, the conviction in this case
22   makes it practically inevitable and a virtual certainty that defendant will be removed or
23   deported from the United States. Defendant may also be denied United States
24   citizenship and admission to the United States in the future. Defendant understands that
25   while there may be arguments that defendant can raise in immigration proceedings to
26   avoid or delay removal, removal is presumptively mandatory and a virtual certainty in
27   this case. Defendant further understands that removal and immigration consequences are
28   the subject of a separate proceeding and that no one, including his attorney or the Court,
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     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 5 of 14 Page ID #:742



1    can predict to an absolute certainty the effect of his conviction on his immigration status.
2    Defendant nevertheless affirms that he wants to plead guilty regardless of any
3    immigration consequences that his plea may entail, even if the consequence is automatic
4    removal from the United States.
5                                         FACTUAL BASIS
6                 Defendant admits that defendant is, in fact, guilty of the offense to which
7    defendant is agreeing to plead guilty. Defendant and the USAO agree to the statement of
8    facts provided below and agree that this statement of facts is sufficient to support a plea
9    of guilty to the charge described in this agreement and to establish the Sentencing
10   Guidelines factors set forth in paragraph 11 below but is not meant to be a complete
11   recitation of all facts relevant to the underlying criminal conduct or all facts known to
12   either party that relate to that conduct.
13         On or about February 9, 2023, in Los Angeles County, within the Central District
14   of California, defendant, a convicted felon, knowingly possessed a firearm, namely, a
15   Black Aces Tactical model FD12, 12-gauge shotgun, bearing serial number
16   20BLP14099 (the “FD12”), and ammunition, namely, 9 rounds of Winchester
17   Ammunition 12-gauge shotshells (the “ammunition”), each in and affecting interstate
18   and foreign commerce.
19         Specifically, on February 9, 2023, defendant, while accompanied by a co-
20   conspirator, met with a Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”)
21   Confidential Informant (“CI”), led the CI to the front passenger seat of a black sedan,
22   and opened the door. Defendant handed the CI the FD12, two magazines and the
23   ammunition. The CI paid defendant $2,000 for the FD12, magazines and ammunition.
24         At the time defendant knowingly possessed such firearm and ammunition, he
25   knew he had been convicted of crimes punishable by imprisonment for a term exceeding
26   one year, specifically:
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     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 6 of 14 Page ID #:743



1          1) Taking a Motor Vehicle, in violation of California Penal Code Section 215(a),
2             in the Superior Court of the State of California, County of Los Angeles, Case
3             No. BA179613, on or about August 26, 1999;
4          2) Robbery: Second Degree, in violation of California Penal Code Section 211, in
5             the Superior Court of the State of California, County of Los Angeles, Case No.
6             BA179613, on or about August 26, 1999;
7          3) Kidnapping, in violation of California Penal Code Section 207(a), in the
8             Superior Court of the State of California, County of Los Angeles, Case No.
9             BA179613, on or about August 26, 1999;
10         4) Assault with a Deadly Weapon, in violation of California Penal Cod4e Section
11            245(a), in the Superior Court of the State of California, County of Los Angeles,
12            Case No. GA101101, on or about June 8, 2017, which is a crime of violence;
13            and
14         5) Taking a Vehicle Without Consent, in violation of California Vehicle Code
15            Section 10851(a), in the Superior Court of the State of California, County of
16            Los Angeles, Case No. BA469952, on or about August 16, 2018.
17                                  SENTENCING FACTORS
18                Defendant understands that in determining defendant’s sentence the Court is
19   required to calculate the applicable Sentencing Guidelines range and to consider that
20   range, possible departures under the Sentencing Guidelines, and the other sentencing
21   factors set forth in 18 U.S.C. § 3553(a). Defendant understands that the Sentencing
22   Guidelines are advisory only, that defendant cannot have any expectation of receiving a
23   sentence within the calculated Sentencing Guidelines range, and that after considering
24   the Sentencing Guidelines and the other § 3553(a) factors, the Court will be free to
25   exercise its discretion to impose any sentence it finds appropriate up to the maximum set
26   by statute for the crime of conviction.
27                Defendant and the USAO agree to the following applicable sentencing
28   guideline factors:
                                               6
     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 7 of 14 Page ID #:744



1       Base Offense Level:               At least 20               U.S.S.G. § 2K2.1(a)(4)(A)
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3    Defendant and the USAO reserve the right to argue that additional specific offense
4    characteristics, adjustments, and departures under the Sentencing Guidelines are
5    appropriate. Further, the USAO reserves the right to argue for, and the defendant
6    reserves the right to argue against, the application of a higher base offense level, namely,
7    the base offense level of 22 pursuant to U.S.S.G. § 2K2.1(a)(3). The base offense level
8    set forth above is based on information currently known to the government regarding
9    defendant’s criminal history. Defendant understands and agrees that defendant’s base
10   offense level could be increased, irrespective of the government’s assertion that the base
11   offense level is 22, if defendant is an armed career criminal under U.S.S.G. §§ 4B1.4 and
12   18 U.S.C. § 924(e), or if defendant has additional prior conviction(s) for either a crime of
13   violence or a controlled substance offense under U.S.S.G. § 2K2.1. If defendant’s base
14   offense level is so altered, defendant and the USAO will not be bound by the base
15   offense level agreed to above.
16                Defendant understands that there is no agreement as to defendant’s criminal
17   history or criminal history category.
18                Defendant and the USAO reserve the right to argue for a sentence outside
19   the sentencing range established by the Sentencing Guidelines based on the factors set
20   forth in 18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and (a)(7).
21                          WAIVER OF CONSTITUTIONAL RIGHTS
22                Defendant understands that by pleading guilty, defendant gives up the
23   following rights:
24                a.     The right to persist in a plea of not guilty.
25                b.     The right to a speedy and public trial by jury.
26                c.     The right to be represented by counsel –- and if necessary have the
27   Court appoint counsel -- at trial. Defendant understands, however, that, defendant
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     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 8 of 14 Page ID #:745



1    retains the right to be represented by counsel –- and if necessary have the Court appoint
2    counsel –- at every other stage of the proceeding.
3                 d.      The right to be presumed innocent and to have the burden of proof
4    placed on the government to prove defendant guilty beyond a reasonable doubt.
5                 e.      The right to confront and cross-examine witnesses against defendant.
6                 f.      The right to testify and to present evidence in opposition to the
7    charges, including the right to compel the attendance of witnesses to testify.
8                 g.      The right not to be compelled to testify, and, if defendant chose not to
9    testify or present evidence, to have that choice not be used against defendant.
10                h.      Any and all rights to pursue any affirmative defenses, Fourth
11   Amendment or Fifth Amendment claims, and other pretrial motions that have been filed
12   or could be filed.
13                           WAIVER OF APPEAL OF CONVICTION
14                Defendant understands that, with the exception of an appeal based on a
15   claim that defendant’s guilty plea was involuntary, by pleading guilty defendant is
16   waiving and giving up any right to appeal defendant’s conviction on the offense to which
17   defendant is pleading guilty. Defendant understands that this waiver includes, but is not
18   limited to, arguments that the statute to which defendant is pleading guilty is
19   unconstitutional, and any and all claims that the statement of facts provided herein is
20   insufficient to support defendant’s plea of guilty.
21                LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
22                Defendant agrees that, provided the Court imposes a total term of
23   imprisonment on all counts of conviction of no more than within or below the range
24   corresponding to an offense level of 19 and the criminal history category calculated by
25   the Court, subject to any applicable mandatory minimum sentence, defendant gives up
26   the right to appeal all of the following: (a) the procedures and calculations used to
27   determine and impose any portion of the sentence; (b) the term of imprisonment imposed
28   by the Court; (c) the fine imposed by the Court, provided it is within the statutory
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     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 9 of 14 Page ID #:746



1    maximum; (d) to the extent permitted by law, the constitutionality or legality of
2    defendant’s sentence, provided it is within the statutory maximum; (e) the term of
3    probation or supervised release imposed by the Court, provided it is within the statutory
4    maximum; and (f) any of the following conditions of probation or supervised release
5    imposed by the Court: the conditions set forth in Second Amended General Order 20-04
6    of this Court; the drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and
7    3583(d); and the alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7)
8    and any conditions of probation or supervised release agreed to by defendant in
9    paragraph 2 above.
10                The USAO agrees that, provided (a) all portions of the sentence are at or
11   below the statutory maximum specified above and (b) the Court imposes a term of
12   imprisonment on all counts of conviction within or above the range corresponding to an
13   offense level of 17 and the criminal history category calculated by the Court, the USAO
14   gives up its right to appeal any portion of the sentence.
15                           WAIVER OF COLLATERAL ATTACK
16                Defendant also gives up any right to bring a post-conviction collateral
17   attack on the conviction or sentence, except a post-conviction collateral attack based on a
18   claim of ineffective assistance of counsel, a claim of newly discovered evidence, or an
19   explicitly retroactive change in the applicable Sentencing Guidelines, sentencing
20   statutes, or statutes of conviction. Defendant understands that this waiver includes, but
21   is not limited to, arguments that the statute to which defendant is pleading guilty is
22   unconstitutional, and any and all claims that the statement of facts provided herein is
23   insufficient to support defendant’s plea of guilty.
24                      RESULT OF WITHDRAWAL OF GUILTY PLEA
25                Defendant agrees that if, after entering a guilty plea pursuant to this
26   agreement, defendant seeks to withdraw and succeeds in withdrawing defendant’s guilty
27   plea on any basis other than a claim and finding that entry into this plea agreement was
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     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 10 of 14 Page ID #:747



1     involuntary, then the USAO will be relieved of all of its obligations under this
2     agreement.
3                              EFFECTIVE DATE OF AGREEMENT
4                  This agreement is effective upon signature and execution of all required
5     certifications by defendant, defendant’s counsel, and an Assistant United States
6     Attorney.
7                                   BREACH OF AGREEMENT
8                  Defendant agrees that if defendant, at any time after the signature of this
9     agreement and execution of all required certifications by defendant, defendant’s counsel,
10    and an Assistant United States Attorney, knowingly violates or fails to perform any of
11    defendant’s obligations under this agreement (“a breach”), the USAO may declare this
12    agreement breached. All of defendant’s obligations are material, a single breach of this
13    agreement is sufficient for the USAO to declare a breach, and defendant shall not be
14    deemed to have cured a breach without the express agreement of the USAO in writing.
15    If the USAO declares this agreement breached, and the Court finds such a breach to have
16    occurred, then: (a) if defendant has previously entered a guilty plea pursuant to this
17    agreement, defendant will not be able to withdraw the guilty plea, and (b) the USAO will
18    be relieved of all its obligations under this agreement.
19        COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES
20                                     OFFICE NOT PARTIES
21                 Defendant understands that the Court and the United States Probation and
22    Pretrial Services Office are not parties to this agreement and need not accept any of the
23    USAO’s sentencing recommendations or the parties’ agreements to facts or sentencing
24    factors.
25                 Defendant understands that both defendant and the USAO are free to:
26    (a) supplement the facts by supplying relevant information to the United States Probation
27    and Pretrial Services Office and the Court, (b) correct any and all factual misstatements
28    relating to the Court’s Sentencing Guidelines calculations and determination of sentence,
                                                 10
     Case 2:23-cr-00236-ODW Document 176 Filed 04/26/24 Page 11 of 14 Page ID #:748



1     and (c) argue on appeal and collateral review that the Court’s Sentencing Guidelines
2     calculations and the sentence it chooses to impose are not error, although each party
3     agrees to maintain its view that the calculations in paragraph 11 are consistent with the
4     facts of this case. While this paragraph permits both the USAO and defendant to submit
5     full and complete factual information to the United States Probation and Pretrial Services
6     Office and the Court, even if that factual information may be viewed as inconsistent with
7     the facts agreed to in this agreement, this paragraph does not affect defendant’s and the
8     USAO’s obligations not to contest the facts agreed to in this agreement.
9                  Defendant understands that even if the Court ignores any sentencing
10    recommendation, finds facts or reaches conclusions different from those agreed to,
11    and/or imposes any sentence up to the maximum established by statute, defendant
12    cannot, for that reason, withdraw defendant’s guilty plea, and defendant will remain
13    bound to fulfill all defendant’s obligations under this agreement. Defendant understands
14    that no one –- not the prosecutor, defendant’s attorney, or the Court –- can make a
15    binding prediction or promise regarding the sentence defendant will receive, except that
16    it will be within the statutory maximum.
17                               NO ADDITIONAL AGREEMENTS
18                 Defendant understands that, except as set forth herein, there are no
19    promises, understandings, or agreements between the USAO and defendant or
20    defendant’s attorney, and that no additional promise, understanding, or agreement may
21    be entered into unless in a writing signed by all parties or on the record in court.
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23-cr-00236-ODW Document 176 Filed 04/26/24 Page 12 of 14 Page I




                                        04/26/2024
23-cr-00236-ODW Document 176 Filed 04/26/24 Page 13 of 14 Page I
23-cr-00236-ODW Document 176 Filed 04/26/24 Page 14 of 14 Page I
